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                          IN    UMTED STATES DISTRICT COURT
                               TTTE
                        FOR TTIE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DTYISION


FC ST. PAULI MERCHANDISING GMbH                  &
CO. KG,

        Plaintiff,                                        Case   No.: l9-cv-7251

v.                                                        Judge: Elaine E. Bucklo

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
I.]NINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

        Defendants.

                               PRELIMINARY INJUNCTION ORDER
        THIS CAUSE being before the Court on PlaintiffFc ST. PAULI MERCHANDISING

GmbH & CO. KG's ("Plaintiff'or "ST. PAULI") Motion for Enty of a Preliminary Injunction,

and this Court having considered the evidence before it hereby GRANTS              Plaintiffs Motion for

Entry of a Preliminary Injunction in its entirety against the Defendants identified in Schedule A

attached hereto (collectively, the "Defendants").

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including    Illinois. Specifically, Defendants   are reaching out to do business   with Illinois

residents by operating one or more commercial, interactive lnternet Stores through which           Illinois

residents can purchase products bearing infringing and/or counterfeit versions of PlaintifPs ST.

PAULI Trademarks including U.S. Trademark Registration Nos. 5,293,474 and 5,298,749.
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       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Reshaining Order (*TRO") should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure   65.   Evidence submitted    in   support   of this Motion and in   support   of Plaintiffs

previously granted Motion for a Temporary Reshaining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

       Specifically, Plaintiffhas proved aprimafacfe case of trademark infringement because (1)

the ST. PAULI Trademarks are distinctive marks and registered with the U.S. Patent                and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

the ST. PAULI Trademarks, and (3) Defendants' use of the ST. PAULI Trademarks is causing a

likelihood of confusion as to the origin or sponsorship of Defendants' products with Plaintiffs.

Furthermore, Defendantso continued and unauthorized use              of the ST. PAULI     Trademarks

irreparably harms Plaintiff through diminished goodwill and brand confidence, damage to

Plaintiff s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to

address such damage and, therefore, Plaintiffhas an inadequate remedy at        law. Moreover, the

public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants' actions while respecting the Defendants' right to sell, and customers' right

to buy, products that do not infringe Plaintiffs trademark rights.

       Accordingly, this Court orders that:

1.     Defendants, their affiliates, officers, agents, seryants, employees, attomeys, confederates,

       and all persons acting for, with, by, through, or under them be preliminarily enjoined and

       restrained from:
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        using Plaintiffs ST. PAULI Trademarks             or any   confrrsingly similar

        reproductions, counterfeit copies or colorable imitations thereof in any manner

        in connection with the distributio& marketing, advertising, offering for sale, or

        sale of any product that is not a genuine ST.   PAULI product or not authorized

        by Plaintiffto be sold in connection with Plaintiffs ST. PAULI Trademarks;

        passing off, inducing, or pennitting others to sell or pass off any product as a

        genuine ST. PAULI product or any other product produced by Plaintiff, that is

        not Plaintiffs or not produced under the authorization, conhol or supervision

        of Plaintiff and approved by Plaintiff for sale under Plaintiffs ST. PAULI

        Trademarks;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control      or supervision of

        Plaintifi or are sponsored by, approved by, or otherwise        connected wittl

        Plaintiff;

   d.   further infringing Plaintiffs ST. PAULI Trademarks and damaging Plaintiffs

        goodwill;

        knowingly manufacturing, shipping, delivering holding for sale, tansfening or

        otherwise moving, storing, distibuting, returning, or otherwise disposing of, in

        any manner, products or inventory not manufactured by or for Plaintiff, nor

        authorized by Plaintiffto be sold or offered for sale, and which bear Plaintiffs

        ST. PAULI Trademarks or any confusingly similar reproductions, counterfeit

        copies or colorable imitations thereof;
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2.      The domain narne registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CenfialNic, Nominet, and the Public

        Interest Registry, within t}ree (3) business days       of receip of this Order or prior to

        expiration of this Order, wtrichever date shall occur first, shall, at Plaintiffs choosing:

            a.   unlock and change the registrar of record for the Defendar$ Domain Names

                 to a registrar of Plaintiffs selection until firttrer ordered by this Court, or

            b.   disable the Defendant Domain Names and make them inactive and

                 untransferable until further ordered by this Court.

3.      The domain name registrars, including, but not limited to, GoDaddy Operating Company,

        LLC ("GoDaddy"), Name.com, PDR LTD. dlbla PublicDomainRegistry.com ("PDR"),

        and Namecheap Inc. ("Namecheap"), within three (3) business days of receipt of this

        Order, shall take any steps necessary to transfer the Defendant Domain Names to a registrar

        account of Plaintiffs selection so that the Defendant Domain Names can be redirected or

        disabled until further ordered by this Court.

4.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' websites at the

        Defendant Domain Names or other websites operated by Defendants, including, without

        limitation, any online marketplace platforms such as iOffer, eBay, AliExpress, Alibaba,

        Amazon, Wish.com and DhGate, web hosts, sponsored search engine                     or     ad-word

        providers, credit cards, banks, merchant account providers, third party processors and other

        payment processing service providers, Internet search engines such as Google, Bing, and

        Yahoo, and domain narne registrars, including but not limited to, GoDaddy, Name.com,

        PDR, and Namecheap, (collectively, the "Third Party Providers") shall, within ten (10)
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   business days   of receipt of such notice, provide to Plaintiff copies of all documents and

   records in such person's or entity's possession or control relating to:

       a. The identities and locations, including all known contact information and

            any and all associated e-mail addresses,      of   Defendants, their agents,

            servants, employees, confederates, and attorneys;

       b. the nature   of Defendants' operations and all associated sales, methods of

            payment    for   services and financial information, including, without

            limitation, identiffing information associated with the Online Marketplace

            Accounts, the Defendant Domain Names, and Defendants' financial

            accounts, as well as providing a   full accounting of Defendants'   sales and

            listing history related to their respective Online Marketplace Accounts and

            Defendant Domain Names;

       c. Defendants' websites and/or any Online Marketplace Accounts;

       d.   The Defendant Domain Names or any domain nElme registered by

            Defendants; and

       e.   Any financial accounts owned or confiolled by Defendants, including their

            agents, servants, employees, confederates, and attorneys, including such

            accounts residing   with or under the control of any banks, savings and loan

            associations, payment processors or other financial institutions, including,

            without limitation, Amazon Pay, PayPal, Alipay, DhGate, Wish.com, or

            other merchant account providers, payment providers, third party

            processors, and credit card associations (e.g., MasterCard and VISA).
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5.      Third Party Providers with actual notice of this Order shall, within ten (10) business days

        of receipt of such notice:

                a. remove Product Listings identified on Schedule   A from any website under that

Third Parly Provider's control, to the extent not previously removed;

                b. remove advertisements for Product Listings identified on Schedule A from any

website under that Third Party Provider's control; and

                c. remove links to the Defendant DomainNames from any search index under that

Third Party Provider's control.


        Defendants and Third Party Providers shall be temporarily restrained and enjoined from

        tansferring or disposing of any money or other of Defendants' assets associated with sales

        from Product Listings identified on Schedule A until further ordered by this Court.

7.      Any Third Party Providers, including PayPal,lnc. ("PayPal"), Alipay, Wish.com, DhGate

        ("DhGate") and Amazon Pay shall, within five (5) business days of receipt of this Order,

        for any Defendant or any of Defendants'Online Marketplace Accourts or websites:

           a.   Locate    all accounts and funds connected to      Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, ineluding, but not limited to, any

                financial accounts connected to the information listed in Schedule A hereto, the e-

                mail addresses identified in Exhibit 2 to tlre Declaration of Bernd Von Geldern, and

                any e-mail addresses provided for Defendants by third parties; and

           b.   Restain and enjoin any such accounts or funds that are not U.S.-based from

                transferring or disposing of any money or other of Defendants' assets associated

                with   sales from Product Listings identified on Schedule   A until further ordered by

                this Court.
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8.       Plaintiffmay provide notice of these proceedings to Defendants, including notice

          of the preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P.

         4(0(3), by electronically publishing a link to the Complaint, this Order and other relevant

         documents on a website to which the Defendant Domain Names which are transferred to

         Plaintiffs control will redirect, or by sending an e-mail to the e-mail addresses identified

         in Exhibit 2 of the Declaration of Bemd Von Geldern and any e-mail         addresses provided

         for Defendants by third parties that includes a link to said website. The Clerk of Court is

         directed to issue a single original surnmons in the name of "begawan99 and all other

         Defendants identified    in the Complaint'o that shall apply to all            Defendants. The

         combination ofproviding notice via electronic publication or e-mail, along with any notice

         that Defendants receive from domain name registrars and payment processors, shall

         constitute notice reasonably calculated under all circumstances to apprise Defendants       of

         the pendency of the action and afford them the opportunity to present their objections.

         Notwithstanding this provision, ordinary federal rules governing notice and service in civil

         cases shall apply to any Intervenors that the Court has permitted to appear.

9.       Any Defendants that are subject to this Order, or Intervenors that the Court has

         permitted to appear, may appear and move to dissolve or modi8r the Order on two

         days' notice to Plaintiffor on shorter notice as set by this Court.

10.      The $10,000 bond posted by Plaintiffshall remain with the Court until a Final


         disposition of this case or until this Preliminary Injunction is terminated.




                                        U.S. District Court Judge
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                                     Schedule
             No.   Defendant Name / Alias
                   besawan99
              2    kumeli
              3    bfbstores
              4    funny tees 2017
              5    litinstins55
              6    zhansoiano
              7    EmpW
              8    pensuin baby shop
              9    heoiuvdmimi
             10    iianskevu fashion
              ll   sunronsl992
              t2   TA]\^TJL
             13    Cobalt deal
             t4    iiaoi258
             l5    chenrenoene890090
             t6    JLTYIJANYT
             t7    lxfhahah
             18    wanspinsvans fashion
             l9    zhuanminsstore
             20    DuZhiPlace
             21    fuzhou suoran shoo
             22    huslkonsoi
             23    duhret store
             24    nhivrki Fridav
             25    dabo
             26    zhioins fashion
             27    DESTTY
             28    Ferbia
             29    suotiantiandian
             30    Lanxi Hao Bo ecommerce.Co., Ltd.
             31    meimingzen plaza
             32    PHANTOSCOPE
             33    tianoifushi
             34    wanserlei
             35    zhangchanstore
             36    chuniie online
             37    dihao fashion
             38    wufenslin8888
             39    HomecnelD
             40    menetinszhimei
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                                      Schedule
             4t    viwu puer E-commerce
             42    oiuline fashion
             43    vinhui
             44    zhulimin111888
             45    amvandanw
             46    DIY Factory
             47    faneiianelinsshoo
             48    whtblueskv
             49    hehe fashion
             50    huhu62
             5l    mbhokvc fashion store
             52    xchenvansseller
             53    fczrdw Fridav
             54    nvinmk olaza
             55    wangkequn fashion
             56    wuhan00l269
             57    zhioenexiaoiiatine
             58    sensduoFAlxin
             59    mvuknu store
             60    shensvixinslonstonssihai
             6t    weiqifashion
             62    zhihuans wholesale store
             63    wwwainivishene
             64    zenschunhua520
             65    Bv vourself
             66    kent28--polo
           .67     mainSLnd
             68    oiushuiwanoian
             69    Baroue of commerce
             70    Panssvovoland
             7l    Shop4998l47 Store
             72    Hotsale Tee Store
             73    Print shirt mall
             74    FlatEarth Sexy Store
             75   zhanehone Store
             76    xiaomifens caos Store
             77    KanveWest Store
             78   oudali Store
             79   Shoo514703l Store
             80   arinstee
             8l   divtee02
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                                          Schedule A

             82    kkus9l
             83    meetO8
             84    plauso
             85    wnwa04
             86    Aoril eifts
              87   aorili
              88   bhimasena
              89   Mem Eden Official Store
             90    Personalized print 001 Store
             9l    Yiwu Weiran Tradins Co.. Ltd.
             92    ailee10l   1   18

             93    argantoc I
             94    bestsakti2     I   2
             95    bimarv-S
             96    bvaktoraman-0
             97    cadet.dar
              98   cakrastam 0
              99   dariuanant 0
             100   de.luffr
             101   efkurniasar 0
             102   fan zone store
             103   fav shop2
             104   fuyumi.blow
             105   eaharstoreS I
             106   sooddesisn 88
             107   sutaw 2015
             108   indvwearshoo
             109   kreisnastore
             ll0   kridahsalau
             ll1   mcze17
             tt2   sabdono
             113   sanskurianel5
             tt4   sofisonv-0
             u5    thenorthmanTTl
             ll6   tribal-fashion
             n7    victorv77l5
             118   wildarastafar0
             ll9   2018-t77
             120   anxiansmeishi
             t2l   Arrow Han
             t22   Art to real store
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                                    Schedule A

             123   asibhkm supper-market
             124   baola
             125   bdthhi suooer-market
             126   chans fashion
             127   chansiinsuo fashion
             128   chenkailil5T
             t29   chenpins92
             130   chunnizhi
             131   dafewrs olaza
             t32   da in fashion
             133   da   ul23
             134   danekeexia
             r35   dinszhone fashion
             136    ds402977373
             137   DYSHOP
             138   engname
             139   erowtr Fridav
             140   Fashion Zone 1755
             t41   FINDITINTERESTING
             t42   Free Realm
             t43   saorupins fashion
             t44   gou guan gfan supper-market

             145   sufan fashion
             146   hailun
             147   hesans fashion
             148   heiian fashion
             149   heqinefene fashion
             ls0   homerlou fashion store
             lsl   hubaoquanl 88906
             tsz   iiemifashion
             153   itmm882488
             t54   kane668
             155   lanxiu fashion
             156   liaohonslan fashion
             t57   lisuieu fashion
             158   likuanfashion
             159   liniishui fashion
             160   linlinl35
             t6l   liudanoins fashion
             162   liuvuechaodedianou
             163   lonschaooun fashion
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                                     Schedule

              64   louqiao fashion
              65   luoinenan989803
              66   mallshoo
              67   mensnaollao
              68   mhbiuk online store
              69   mins shonoins
              70   MOIUOSHA
              71   mv lovelv eirl
              72   nvbivhk wholeshoo
              73   okmhgv store
              74   panefei fashion
              75   pengtaostore
              76   oizi-office
              77   Dnnoac
              78   oiuiianoins fashion
              79   qiaidf Fridav
              80   renvanfang
              81   riuoid fashion store
              82   scorchsun
              83   SenhuoNew
              84   shaoqiu fashion
              85   shen Factorv Store
              86   shenfensfenszhtzhu
              87   shimins shoo
              88   shonoins520
              89   showmetime
              90   swbeds suooer-market
              9l   tantans fashion
              92   tianvuansuooermarket
              93   tibaoss
              94   uluwang
              95   uonsub shoppins
              96   viimho online store
              97   wansbe in the lead
              98   wangchunhua303S
              99   wansfa fashion
             100   wanslixiabeautv
             r01   wancxiaoiin fashion
             202   weichun fashion
              03   wunluzal
             204   wushilians fashion
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                                     Schedule

             205   xiaodong fashion
             206   xiaozhengkaidian
             207   xivebhi plaza
             208   xuanlvrnriivi
             209   xuexiaozhuang
             210   xuiian fashion
             211   xuoinschu fashoin
             2t2   vadong zhu
             213   vaniin666
             214   vanshimeilibu
             215   viwu fashionshow Ecommerce co..ltd
             2t6   zhansangone fashion
             217   zhiwanstore
             218   zhonsiian fashion
             219   ZHONGIIANDAO
             220   zuofu fashion
             221   DreamHieh skyland
             222   Eniovpatches
             223   Kinss sewins
             224   Land Rus
             225   Patchshoo02
             226   Pro Active
             227   Tess Snow
             228   The Rizzka
             229   Think Patch
             230   Trov J Clark
             231   W Exnert
             232   888T-shirts Store
             233   crazytees Store
             234   Customize Shirts&Hoodies (Drop Shinpine) Store
             235   dazha o Store
             236   deadline Store
             237   Desisntshirts Store
             238   dream shirts Store
             239   feelin eood tees Store
             240   Hahayule-TA[IA Store
             241   honsda0676 Store
             242   Hubei Minekai ApparelCo.. Ltd.
             243   KennyShirt Store
             244   laohuwang Store
             245   Nic Print Tshirt050l Store
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                                                   Schedule
                    246     Personalitycustomizedtshirt Store
                    247     PUDO-Toowholesale Store
                    248     QINSIR Apparel Store
                    249     rocktothetop Store
                    250     Shop3661047 Store
                    251     Shoo442l16l Store
                    252     Shoo45500l6 Store
                    253     5hop4572029 Store
                    254     Shop46690l3 Store
                    255     Shop467007l Store
                    256     Shoo4675047 Store
                    257     Shop5085386 Store
                    258     Shop5l53026 Store
                    2s9     Shop5272002 Store
                    260     Shop527604l Store
                    261     5hoo5367249 Store
                    262     Shoo5379l35 Store
                    263     Sidney Maurer Store
                    264     Slocombes Print Tshirt Store
                    265     Sons Store
                    266     Strawberrv tshirt Store
                    267     Tshirt Men's Store
                    268     T-shit Store
                    269     wanqiu Store
                    270     wuli dazha Store
                    271     vansoiuiu Store
                    272     YeeNoke
                    273     Yun Mi Store
                    274     athena3 I
                    275     baishiT
                    276     caisemao08
                    277     hahaonecup
                    278     tshirtbakers




No I Defendants Online Marketplace
      https ://www. ebay. com/usr/be gawan99
)    https ://www. ebay. com/usr/kumel   i
3    https://www.wish.com/merchanV5abb4              I   ce856edf4982dee8da
4    https ://www.wish.com/merchanV5         8   5b69 57 652b47 4d66 5 5fl c4
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                                                       Schedule
5     https://www.wish.com/merchanU5aaf806                   1   c 1d5 I 8 1e I         aeb5d6f
6     https ://www.wish.com/m erchant/    5   ae29 607 97 22337 207 320e6c
7     https ://www.wish.com/m erchant/ 57 93 I 9247 6RZbZf80a2007 2
8     https://www.wish.com/merchant/S         83 a60d72c689fl bB I                          7f9d09
9     https ://www.wish.com/merchanV5         a5 0 9 I e9        47 I cl 40c7           7   8acb44
I     https ://www.wish.com/merchanV54 I 5203 3f8abc8                             7   9837 7 Zdfa
0
I     https ://www.wish.com/merchanV5ae            I 5 5e067 d25cl cOedb3 dOc
I
I     https ://www.wish.com/merchant/5b46ca52c8e5c0                               1   bc5 0af8   5   b
2
I     https ://www.wish.com/merchanV5 8fd7 65eeb8d2fl I 0241 6aad
a
J
I     https ://www.wish.com/m erchant/    5 a41        1   a0c7f9ae5 52a33b63 a3
4
1     https://www.wish.com/merchant/Sab2803fbeed                            1   225 4dl e7 d4c
5
I     https ://www.wish.com/merchanV5         a6   6f5906ea4a7 408b297 I 8d
6
I     hffps ://www.wish.com/merchant/5 ab e69997 2233 0d2ee8ef2d
7
I     https ://www.wish.com/m er chantl 5 4 l2da7b7                5   4l       ce5 a5 4 I   89262
8
I     https ://www.wish.com/merchant/5a3           5   29   cl 47 I cl 44d7             fl   02acb
9
2     https ://www.wish. com/m erchant/   5 a63        bbb0cefb             I5    5b24el I 6a7
0
2     https ://www.wish.com/merchanV540            667 20 | d2d43 4f89f0cc8 I
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)     https ://www.wish.com/merchant/S        ab 0     d4e64 17 cee4a857 9 0fa7
2
2     https://www.wish.com/merchant/S4          Ic     6c537 54lce7 7 45294b1 5
3
2     https ://www.wish.com/merchant/54 I d6a8afllabc80 5fd2c8a23
4
2     https ://www.wish.com/merchanV5acS               7   29tlb98dBb0989aff7
5
2     https ://www.wish. com/merchanV5 40 af9 d6c5 c2463 067 19 cfd5
6
2     https://www.wish.com/merchanV59e             45fe467 e9be6e8 I 4c8b20
7
2     https ://www.wish.com/merchanV5 a0fefaS 8cf0ed 4d290fc99                                   1


8
2     https ://www.wish.com/merchant/5        9 8 19 17 7 I 5           da072db8 8ead6f
9
J     https://www.wish.com/merchanV54f9e600                      I c3   6ca3 I ec6307 6a
0
J     https://www.wish.com/m erchant/ 5 4l2fdb44ad3ab                             I 5 8c0f8c67
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                                                      Schedule
J     https ://www.wish.com/merchant/S9d             f2f6c0a332a2f5b           1   3   ea0e
2
J     hffps://www.wish.com/merchanV5aaTb                I   c9db5fl f694eb         I be3   0
a
J

3     https ://www.wish.com/m erchantJ      5   a7 47 47 a6be87 3          6ddcd2al        4   I
4
J     https ://www. wish. com/m er chant/   5 aa3 ae242c49 5 6            64f003252b
5
a
J     https://www.wish.com/merchant/S3f9a885 I 04dae5b3                       b6 I fea3
6
J     https ://www.wish.com/merchanV54           I   6bbbafSabcS 7 97 7 7 7 5 465
7
J     https ://www.wish.com/merchant/Sab8da5                 82dde5 e07b37 a0e23
8
J     https ://www.wish. com/m er chant/ 5 aa26 5 c5 c2c8923 fed3 8224b
9
4     https://www.wish.com/merchant/5ad c3997                 I 55 I I a4c4bbdcfrl6
0
4     https://www.wish.com/merchanV55 I df852d3 5 79c0d854e0ad7
I
4     https ://www.wi sh. com/merchant/S 40ffclc0 7a9eb4 252af I 9fO 5
)
4     https://www.wish.com/merchanV593 I 0e0a25c4f5482f9c I 0e3
J
4     https ://www.wish.com/merchanV5 aa9226f263                 5   a7 I aa40fl        acl
4
4     https ://www.wish.com/merchanU5 96 t69 d037 63 5 d2b237 65 cbe
5
4     https://www.wish.com/merchanV56fa536e3                   834fl      5a7 03   6fe7 5
6
4     https://www.wish.com/merchant/S           8fca80 I 60d4e0 I 0f/88b756
7
4     https ://www.wish.com/merchanV5           8c5 005 6a4c84 d5 0659 ee7               26
8
4     https://www.wish.com/merchant/540c0c85 I d2d43                      128a7 a7 8d0
9
5     https ://www.wish.com/merchanV5ac8              83307 c27 6804fcce7 39 c
0
5     https ://www.wish.com/merchant/S4          Ic   420 182b9 ac2 8c0504b6d
1

5     https ://www.wish.com/merchant/Sad 060a26be87                   3   I a0c047 65 4
2
5     https://www.wish.com/m erchant/ 54265 5 I I f8abcBlaaa400ae9
J
5     https ://www.wish. com/m erchant/     5   426527 590c7         7 665   842e7 197
4
5     https ://www.wish.com/merchanV54 I cd4f5fSabc 86                    d2l092d3b
5
5     https ://www.wish.com/merchanU5a9              e9c37bl25ab 1 d04 I 2a50e
6
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 17 of 29 PageID #:2431

                                                             Schedule
5     https ://www.wish. com/m erchant/         5   a$ccc6T 0cf69 67 da37 98bb
7
5     https ://www.wish.com/m erchant/          5 afa9           4f2a97 4421 e0 1 5 5 ec3 9
8
5     https ://www.wish.com/merchanU5               4   I c52bf4ad3 abl 4b9 43323 d
9
6     https://www.wish.com/merchanV5ae95c65bb5f5c25                               I   b6d5a3e
0
6     https ://www.wish.com/merchanV54 I 42d 1 ff8abc879837 721a8
I
6     https ://www.wish.com/merchant/S40                    6c7 8el dZd43       4f86fl dcd3
2
6     https ://www.wish.com/merchanV5 ac3                    3   deaa6bfT a4690b28a3 6
J
6     https://www.wish.com/merchant/5ad30de897                            22333 86869c 1 c6
4
6     https://www.wish.com/m erchant/ 5447eal a5f3 I 3fl b47 el88a2
5
6     https ://www.wish.com/merchant/5 54 f47 26d0a33 a2D ddd23                            l0
6
6     https ://www.wish.com/merchanV5 ab e4489 ea87 646a6fa4ce48
7
6     https ://www.wish.com/merchant/5 aa299 4240626a533 e07 302f
8
6     https://www.amazon.comlsp?_encodingUTF8&asin:&isAmazonFulfilled:&isCBA:&marketpla
9     ceID:ATVPDKIKX0DER&orderID:&se I ler=A I SFKWOQB 16 SGE&tab=&vas StoreID=
7     https://www.amazon.com/sp?_encodinyUTF8&asin:&isAmazonFulfilled=&isCBA:&marketpla
0     ceID:ATVPDKIKX0DER&orderID:&seller-A2CDSCXATLY/tMZ&tab=&vasStorelD:
7     https ://www.aliexpress.com/store/49981 47
I
7     https ://www.aliexpress.c oml storelZT 80009
2
7     https ://de.aliexpress.com/store/     I   9093 84
a
J
7     https ://www.aliexpress.com/store/3 6261 17
4
7     https ://www.aliexpress.c om/ storel 4413217
5
7     https ://www. aliexpress.com/store/46 60127
6
7     https :/lkanyewest.aliexpress.com/storc/                   5 1 19   045
7
7     https ://www.aliexpress.com/store/4965 03 0
8
7     https ://www.aliexpress.com/store/5               1   47 03   I
9
8     https://www.dhgate.com/store/2            I35     8598
0
8     https ://www. dh gate.com/ stor e I 2 I 3 4 68 | 3
I
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 18 of 29 PageID #:2431

                                                                Schedule   A
8     https ://www.dhgate.com          I   store 1213007 I 5
2
8     https ://www.dhgate.com/store/2             I 3 5 85 5 0
3
8     https ://www.dhgate,com/store/2             I35   895         1

4
8     https ://www.dhgate.com/ storcl2l3 59329
5
8     https ://www.aliexpress.com/store/S04                     1   29
6
8     https ://apri li. ecrater. com
7
I     https ://bhimasena. ecrater. com
8
8     https ://www.aliexpress.c oml storel2906242
9
9     https ://www.aliexpress.com/store/3               6I9I55
0
9     https ://cj era.en. al ibaba.com
I
9     https://www.ebay.com/usr/ailee              101   1   I8
2
9     https ://www.ebay.com/usr/argantoc                1

J
9     https ://www.ebay.com/usr/bestsakti2                  I   2
4
9     https ://www. ebay. com/usr/bimary- 5
5
9     https ://www. ebay. com/usr/byaktpraman-0
6
9     https ://www. ebay. com/usr/cadet. dar
7
9     https ://www.ebay.com/usr/cakrastam_O
8
9     https ://www. ebay. com/usr/dariuanant_0
9
I     https ://www.ebay.com/usr/de.lufff
0
0
1     https //www. ebay. com/usr/efkurn iasar_0
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0
1

1     https ://www.ebay.com/usr/fan_ zone store
0
2
I     https ://www. ebay. com/usr/fav_shop2
0
J
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 19 of 29 PageID #:2431

                                                Schedule      A
I     https ://www.ebay.com/usr/fuyumi.blow
0
4
I     https ://www.ebay.com/usr/gaharstore5 I
0
5
I     https ://www.ebay.com/usr/gooddesign_8 8
0
6
I     https ://www.ebay.com/usr/gutaw_20 I 5
0
7
I     https ://www. ebay. com/usr/indywearshop
0
8
I     https ://www. ebay. com/usr/kreisnastore
0
9
I     https ://www.ebay.com/usr&ridahgalau
I
0
I     https ://www.ebay.com/u sr I mczeT 7
1

1

I     https ://www. ebay. com/usr/sabdono
1

2
I     https ://www.ebay.com/usr/sangkuriang        I5
I
a
J
I     https ://www. ebay. com/usr/sofi sony-0
I
4
I     https ://www.ebay.com/usr/thenorthmanTT           I
I
5
1     https //www. ebay. com/usr/tribal-fashion
           :



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6
I     https ://www.ebay.com/u sr lvictoryT   7|5
I
7
1     https ://www. ebay. com/usr/wildarastafar0
1

8
I     https ://www.wish. com/merchanV5 ab a7 a7 | c2c8926c5 I 623 89 8
I
9
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 20 of 29 PageID #:2431

                                                    Schedule A
I     https ://www.wish.com/merchanV5b7545df34f08a 4d60528d84
2
0
1     https ://www.wish.com/m er chant/ 57 fc460 d0 47 bed3 efB b2 8R
2
I
1     https ://www.wish.com/m erchantl 59 4640546f06bd75               7I   fbfe53
2
2
1     https ://www.wish.com/m er chant/    5   4200 40 I 7 5 4 1 ce4 593 e7 d233
2
J
I     https ://www.wish.com/m er chant/    57 49    0acb527   9545    cd7 24    e4bf
2
4
1     https ://www.wish.com/merchant/S4 I c4badfllabc8 I 4fbbc08cc
2
5
I     https ://www.wish.com/merchant/S407           efl 4c5c2466 1 5b2db590
2
6
I     https ://www.wish.com/m erchant/     5   4 196b8c4ad3 ab5Ode52df5e
2
7
1     https://www.wish.com/merchanV5ab8925654bd09                    I a527 1 ef06
2
8
1     https://www.wish.com/m erchant/      5   a7 562887 5 599a53 0768 Sccc
2
9
1     https :i/www.wish.com/m erchantJ 5b2c7 I a0 5 67 6c3           63f02l99fc
a
J
0
1     https ://www.wish.com/m erchantl 5 4 I c62D7 5 4 I ce7         73   c29 4b20
J
I
I     https ://www.wish.com/merchanV5 4 1 9 6ee482b9 ac5 eZaT               7   0060
a
J
2
1     hups ://www.wish,com/m erchant/      5   aflabdc8699ce4 I f4dd5c I I
J
J
I     https ://www.wish. com/m er chantl 5b7e3 9c065 0d2 d428a5 0aI 84
J
4
I     https ://www.wish. com/m er chant/   5 4 13   adf2fSabcS   3   47 ba07    el   5
J
5
Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 21 of 29 PageID #:2431

                                                     Schedule A
I   https ://www.wish. com/merchanU5 9a ec7 3 6eea5 c5 5e8623 fb8 8
J
6
I   https ://www.wish.com/merchant/S         697 99        5   c2a7 3 a60db 1 95 928c
J
7
I   https ://www.wish.com/merchant/S         aceed2b2dde5 e2c3 5 el d20 c
J
8
I   https://www.wish.com/m erchant/      5   42003 0f754 I c e4596e7 d2eb
J
9
I   https://www.wish,com/merchant/S90c685 I 9fd3 8 a30d652a67 d
4
0
1   https://www.wish.com/merchanV5a6605                    8   1   d0249924fcc19 421
4
I
1   https ://www. wish. com/merchanV5        9   0b3 I d4e424 db7 b6 | 9 cea4                    I
4
2
I   hffps ://www.wish.com/merchanV54 I 7 e9 I 04ad3 ab27 da5 4 c64a
4
J
1   https ://www.wish.com/merchanV54 I 5 53 5 67                    5   4l   ce3 ccc24ea3    a
4
4
I   https ://www.wish. com/m er chantl   5   4 19 8       d}b 4 ad3 ab5 0 de52e4 c7
4
5
I   https://www.wish.com/merchanV5T I f0b98ced055 593 I 46efl                                5
4
6
I   https ://www.wish.com/m erchant/     5   4   I a8fl e7 5 4l cel            5 aaf<17 8   80
4
7
I   https://www.wish.com/merchant/S4             I 83 e37          75   4l ce70a0afb200
4
8
I   https://www.wish.com/merchanV54              1   83   09b82b9ac 64b7 a7 0c7 5
4
9
I   https ://www.wish.com/merchanV545b5                   8c I 5fJ l3f2e29 62f57 c
5
0
I   https ://www.wish.com/merchant/5aad08e                     I   08a2242dcb8 05 5df
5
I
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 22 of 29 PageID #:2431

                                                       Schedule
I     https ://www.wish.com/merchant/S 40 eTbbcl d2d43 I f3 64b5 3 f3
5
2
I     https //www.wi
           :           sh.   com/m erchant/   597      855 Id   I7I   97   437   bl25 5 e7 I
5
J
I     https://www.wish.com/merchant/5 8bec89                I 3 8045       8484927 6625
5
4
I     https ://www,wish.com/merchant/54 I bdbdd82b9ac2 8bd5 043 fa
5
5
1     https://www.wish.com/merchant/S4             I   be I bd82b9ac28c6504405
5
6
I     https://www.wish.com/m erchant/         5   4200d67 97 l9cd3 d458a5 5 I 9
5
7
I     https ://www.wish.com/merchant/S 8fd f4d9 63 8a7 3 I I ad9ab8b3
5
8
1     https://www.wish.com/merchant/S4             1   be3 Taf8abcS I 5 04bc0005
5
9
I     https ://www.wish. com/merchant/5 8fa fcZfeb I 627 2bfc7 7 25 a8
6
0
t     https ://www.wish.com/m erchant/        5   47 a997 ef8abcS2S4eaSccee
6
1

I     https ://www.wish.com/merchanV58a5                5fbO5 5cfb3 537 35 e7 502
6
2
I     https ://www.wish. com/m er chant/ 5 422 42b8f420 dd4 4 6 al c48 17
6
J
I     https ://www.wish.com/merchant/S4 I e4447 82b9 ac03 ad43 a37b
6
4
I     https ://www.wish.com/merchant/S aa7 e28ca6f62e I 5 3 4 1 0aedf
6
5
I     https ://www.wish.com/merchant/593               005 I 498 I 8b33a9ed7b240
6
6
I     https :i/www.wish.com/merchant/5 8d 621 66c7b7 3b2c57 003 a&a
6
7
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 23 of 29 PageID #:2431

                                                      Schedule
1     https ://www.wish.com/merchant/54          Ic   4fc082b9 ac28c3 50 4 e04
6
I
1     https ://www.wish.com/merchant/5407             ec337 f086e2bf5fac0e I
6
9
I     hffps ://www.wish.com/merchanV599f92bc I 5 daO7746dbbcc8b
7
0
1     https ://www.wish.com/merchant/595          3 a7   9 4887        09f53 ce829 d21
7
1


I     https ://www.wish.com/m erchantl   5   4201 c2a97 19 cd3 d4e8a546b
7
2
1     https ://www.wish.com/m erchant/   5   42000e497 I 9cd3 d4b8a5                 52f
7
3
I     https://www.wish.com/merchant/S40b I 1 3 1 7a9eb                   4397    a92l72d
7
4
1     https ://www.wish.com/merchant/5       a1   bc23 fBcfOedOfe89e I a28
7
5
1     https ://www.wish.com/merchant/5 93 4cD ab9 62ba6b97 I 04al c
7
6
I     https ://www.wish.com/merchant/5 85 f85 47 c37 dbl 4dR 6e8a23
7
7
I     https ://www.wish.com/m erchant/   5   4   I ad29 04ad3 abl           dI   042004b
7
8
I     https ://www.wish.com/merchant/S4          I e9   dl   17   5   4 | ce458de7 c2c9
7
9
I     https://www.wish.com/merchanV5 8d6 I e 1 9eff8ef5 3907 ad62a
8
0
I     https://www.wish.com/merchant/S4 I eaO5e97 I 9cd3d3f8a43b7
8
I
I     https://www.wish.com/merchant/Sa900d4                  I a7 I    fbfl 5 5fO47 4dt
8
)
1     https://www.wish.com/merchant/Sae           I ad5      I 1 c256d23e75cc8b8
8
J
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 24 of 29 PageID #:2431

                                                   Schedule
I     https ://www.wish.com/merchanV5 4Ofd8a3 7f086e4e9c80d I 46
I
4
I     https://www.wish.com/merchant/S4052e6f7f086e I 04 I 7 I 1 Ofb
8
5
I     https://www.wish.com/merchanV59a5            I   3b I 1 5da07 1 bb76c0cac
8
6
I     https ://www,wish.com/merchanU5     3   f99 d2a9020ee5 98 I a43 3 8b
8
7
I     https ://www.wish.com/m erchant/ 57 42fa66bfYl al 59 5 a527 920
8
8
I     https://www.wish.com/merchanV59cb7c3                  53 0e I   R 37927 a4bf2
8
9
I     https ://www.wish.com/merchanV54        Ic   5   a3 64ad3 abl      4bf43332f
9
0
1     https ://www.wish.com/merchanV540eb5              8I   c5c24 645 c2d5 cb34
9
I
I     https ://www.wish. com/merchanV540f0c0d7f086e0d3 798bb3 6
9
2
1     https://www.wish.com/merchant/S9b0           I   33   c8ee78d044d      I e3   665
9
J
I     https://www.wish.com/merchant/5ac70f24ccfl c84a32568f02
9
4
I     https ://www.wish.com/m erchantl   5 420 I       034f8abc 806002ca6e4
9
5
I     https://www.wish.com/merchanV54 I d93f882b9ac03b343 9fb9
9
6
1     https ://www.wish.com/merchanV5 ad2fca6abef9 5666 1 ebb3 f5
9
7
I     https ://www.wish.com/m erchantl 5 ac7 2d8dea87 644d299 cc8 13
9
8
I     https ://www.wish.com/merchant/54 I c285 a97 19 cd09022097 a9
9
9
     Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 25 of 29 PageID #:2431

                                                    Schedule A
2      https ://www.wish.com/merchant/Sacb          17   I 6bl25ab7 ael 6e2e8 I
0
0
2      https ://www.wish. com/merchanV54 1 25224f8abc8l3 86f46b2a
0
 1

2      https://www.wish.com/merchant/S4 I cd643f8abc86d I b092d2c
0
2
2      https ://www.wish. com/m erchant/ 597 5b447 eeai c5 I 62f6ab99 d
0
J
2      https ://www.wish.com/merchant/S4 I ce3 08754 I ce3 555 68ff5a
0
4
2      https ://www.wish.com/merchanV5 40bf0bc I d2d4 3 129c7 a7 648
0
5
2      hups://www.wish.com/merchant/5 842ebfbbbcec94e9b034                           1   3   8
0
6
)      https ://www.wish.com/merchanV54        Ic   5   47 b7   5   4 | ce7 7 3f29   4a24
0
7
2      https ://www.wish.com/merchant/5b2 87 fb57               7   52c847 28c7 7 e45
0
I
2      https ://www.wish.com/m erchant/   5   ac7 04 89b I 25ab 4ee0827               fl9
0
9
2      https://www.wish.com/merchant/S4 I d264327 54c83 84f:{f8c                         I8
I
0
2      https ://www.wish.com/m erchant/   5   4 125 6b04ad3 ab I 5           860fl   27      2
I
1

2      https://www.wish.com/merchanV55         I9   I 6a4c643090fb0598cfll
1

2
2      https://www.wish,com/merchant/5        83   2947 al 59 I 45 I        1I   8fl 2b95
1

J
,)
       https ://www.wish.com/merchant/S ae5 87 aba6bfl a2afb43 86 I 8
I
4
2      https ://www.wish. com/merchanV5 45 eb6fa90c7                 7   60fl 6fd486e
I
5
     Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 26 of 29 PageID #:2431

                                                  Schedule A
)      https ://www.wish.com/merchanV54       I   d3fc9f8abc80 5fl 2c852f
I
6
2      https ://www.wish.com/merchanV5 a9 $el I 197 22337 8b7b84a4d
I
7
,)
       https://www.wish.com/merchant/54 I d6b2OfBabc805f/2c8abf
I
8
2      https ://www.wish. com/m er chant/ 5b24 a5 a9 daac4 57 ecel ae6 | 6
I
9
2      https ://www.wish.com/m er chant/ 5 4 I e4597 f&abcS 05fl 2c8f4e
2
0
2      https ://www.amazon.com/gplhelp/sell       er I at-a-
)      glance.html/reFdp_merchant_link?sellerA INMKUG9 I KN3M3
I
2      https://www.amazon.com/sp?_encodin5UTF8&asin:&isAmazonFulfilled:&isCBA=&marketpla
)      ceID:ATVPDKIKX0DER&orderID:&seller-A 1 2 AZD3RI 44OF 8 &tab=&vas StoreID:
2
,)
       https://www.amazon.com/s?marketplacelD=ATVPDKlKx0DER&mrA3lWSYSFM20FXA&me
2      rchanFA3 I WSYSFM2OFXA&redirecFtrue
J
,)
       hups://www.amazon.com/sp?_encoding:UTF8&asin:&isAmazonFulfilled:&isCBA:&marketpla
2      ceID=ATVPDKIKX0DER&orderID:&se I ler-A3 I ZETFKKA4 SU&tab=&vas StoreID:
4
2      https://www.amazon.com/sp?_encoding=UTF8&asin:&isAmazonFulfilled:&isCBA=&marketpla
2      ceID:ATVPDKIKX0DER&orderID:&se I ler:A 1 RZD3 7LRC7 S[IH&tab:&vas StoreID=
5
2      https ://www.amazon.com/gp/help/selleil at-a-
2      glance. html/ref:dp_merchant_l ink?ie:UTF 8 &sel Ier-A2OXGQFAYU SFZY
6
2      https://www.amazon.com/sp?_encoding:UTF8&asin=&isAmazonFulfilled=&isCBA=&marketpla
2      ceID:ATVPDKIKX0DER&orderID:&seller=A I X5AC0MP67 89Y&tab=&vasStoreID:
7
2      https://www.amazon.com/sp?_encodinyUTFS&asin=B0IHAYCAFG&isAmazonFulfilled=0&is
2      CBA:&marketplacelD:ATVPDKIKX0DER&orderID:&seller:A27B2RBWHTTS23&tab:&vas
8      StoreID:
2      https://www.amazon.com/s?marketplacelD:ATVPDKIKX0DER&me=A3IDQNLYNXPG9N&me
2      rchanFA3 IDQNLYNXPG9N&red irecFtrue
9
2      https://www.amazon.com/sp?_encoding:UTF8&asin=&isAmazonFulfilled:&isCBA:&marketpla
J      ceID:ATVPDKIKX0DER&orderID:&seller:A 1 XDDURA I AOCON&tab:&vasStoreID:
0
2      https://www.amazon.com/sp?_encodin5-UTF8&asin:&isAmazonFulfilled:&isCBA:&marketpla
J      ceID=ATVPDKIKX0DER&orderID:&se I ler=A225P9GAJAISDX&tab=&vas StoreID:
I
    Case: 1:19-cv-07251 Document #: 29 Filed: 11/27/19 Page 27 of 29 PageID #:2431

                                                  Schedule        A
2     https ://8 8 8t-shirts.aliexpress.com/storc/ 4430 181
J
2
2     https ://www.aliexpress.com/store/43    5   I 012
J
J
)     https://www.aliexpress.c om/ store/3263         0   1   8
3
4
2     https ://www.aliexpress.c oml store/ 443 0002
J
5
2     hups ://www. aliexpress.com/store/3    57   2024
5
6
)     https ://designtshirts.aliexpress.com/ storel 4422132
J
7
)     https://xmhw00 1 .aliexpress.com/store/3zl7 097
3
8
2     https ://xmhw.aliexpress.c oml storel29 44 102
J
9
2     https://www.aliexpress.com/store/408        I   34
4
0
2     https ://hong da067 6.aliexpress.com/ storel 467 0019
4
I
2     https ://cnhbmk.en. alibaba.com
4
2
2     https://www.aliexpress.com/store/3     870 1 0 I
4
3
2     https://www.aliexpress.com/store/S2 47 058
4
4
2     https ://www. aliexpress.com/store/4620004
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2     https://personalitycustomizedtshirtstore.aliexpress.com/store/4595035
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6
2     https ://www. aliexpress.com/store/S 005 3 7
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2      https ://qinsir.aliexpress.com/store/   I   46009         1

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       https ://rocktothetop.aliexpress.com/store/45                 55   03   I
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2      https://www.aliexpress.com/store/3          6   61047
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2      https ://shop 4421 I 6 l .aliexpress.com/ storel 4421 I 6l
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2      https://www.aliexpress.com/store/45             500 I 6
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2      https ://www.aliexpress.com/store/S3 67 249
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2      https ://www. aliexpress.com/store/5        3 7 9 13 5

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2    https ://www.aliexpress.c om/ storc/ 443 5 007
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2    https ://song.aliexpress.c om/ store/ 49903 4 I
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2    https://strawberrytshirt.aliexpress.com/store/3         9 I 00   II
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2    https ://www.aliexpress.com/store/4 I 1 0003
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2    https ://t-shit.aliexpress.com/store/S   3   63   090
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2    https ://www.aliexpress.com/store/440405            8
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2    https ://www.aliexpress.c oml store/ 4 4 I 6022
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2    https ://www.aliexpress.com/store/20 69 002
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)    https://www.dhgate.com/wholesale/products/ff8080816cbd9bf5016cflc3895452f4.htm|
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